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                                   STATEMENT OF FACTS

        Your affiant, Daniel Scott McCoy, is a Special Agent assigned to the Federal Bureau of
Investigation (“FBI”). In my duties as a Special Agent, I am responsible for investigating narcotics
that are being purchased, sold, and trafficked through the Darkweb. Currently, I am tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a Special
Agent, I am authorized by law or by a government agency to engage in or supervise the prevention,
detection, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                            FACTS RELATED TO ADAM RYAN VILLARREAL

        On or about January 8, 2021, a Complainant (“Witness 1”) submitted a tip to the FBI
regarding ADAM RYAN VILLARREAL (VILLARREAL). Witness 1 is someone familiar with
VILLARREAL and has known him for over 30 years. Witness 1 was contacted by VILLARREAL
on January 6, 2021, shortly after the riot at the U.S. Capitol. VILLARREAL texted a photograph
that appeared to be from scaffolding looking down from a restricted area on the West Terrace of
the U.S. Capitol grounds. The texted image is included below as Image 1.




                                                           Image 1

        Witness 1 had a phone number ending in -45861 listed for VILLARREAL. According to
legally obtained phone records, the phone number ending in -4586 belonged to a “Ryan Villa”
with an e-mail address of Thrantin@XXXXX.com.2 Legally obtained email records showed that
it belonged to customer profile Adam Villarreal. According to records obtained through
lawful process, on January 6, 2021, in and around the time of the incident, the cell phone number
ending in -4586 was identified as using a cell cite consistent with providing service to a
geographic area that included the interior of the U.S. Capitol building.

        After providing the tip to the FBI, Agents contacted Witness 1 and provided them with a
video of AFO-96 in a restricted area on the West Terrace of the U.S. Capitol. Witness 1 believed
that the subject could be VILLARREAL. A snapshot of a portion of the video sent to Witness 1
is included below as Image 2. VILLARREAL is wearing a plastic, orange, construction-style
helmet and circled in red.

1
  The government is in possession of the full number, but has only used the last four digits here due to the public
nature of this filing.
2
  The government is in possession of the full email address, but has partially redacted it here due to the public nature
of this filing.

                                                                                                                       2
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                                              Image 2

Witness 1 then provided the FBI with a photograph of VILLARREAL at the Kenosha, Wisconsin
protests in 2020. In the photograph, VILLARREAL is holding what appears to be a similar
construction-style helmet worn by VILLARREAL throughout most of his time at the U.S. Capitol
on January 6, 2021. This image is included below as Image 3.




                                          Image 3

        In April 2021, another Complainant (“Witness 2”) submitted a tip to the FBI also
identifying AFO-96 as VILLARREAL. Witness 2 is someone familiar with VILLARREAL and
has known him for over 20 years. Witness 2 last saw VILLARREAL in December of 2020 where
VILLARREAL stated that he was going to be in Washington, D.C. the next month (January 2021).
Witness 2 was shown video of AFO-96, who can be seen wearing an orange-like helmet. Witness
2 identified that individual as VILLARREAL. VILLARREAL had the same facial hair and was
wearing the same jacket in the video when he met with Witness 2 the month prior. A snapshot of
the video provided to Witness 2 where AFO-96 was again identified as VILLARREAL is labeled
as Image 4.

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                                                       Image 4

        On or about August 9, 2021, your affiant reviewed a YouTube video titled
“UNBELIVEABLE FOOTAGE | Trump Supporters Battle Cops Inside the Capitol”3 depicting a
throng of people, who had already trespassed into a restricted area of the U.S. Capitol’s West
Terrace, try to push past police officers in a tunnel on the west terrace. When reviewing the footage,
VILLARREAL can be seen in the tunnel within the crowd of people who were stopped by officers.
Throughout the video, police officers can be seen being pushed, punched, and assaulted with,
amongst other items, chemical spray by the group. Most of this video shows VILLARREAL at the
front of the large crowd. VILLARREAL can be seen wearing the plastic orange construction-style
helmet on his head. In the video at approximately 4:40,4 VILLARREAL is seen at the front of the
group facing the officers. He is seen moving his arm backward to gain momentum (Image 5) then
throwing his arm forward while releasing a wooden stick which strikes United States Capitol
Police Department (USCP) Sergeant A.G. (Image 6).




3
 www.youtube.com/watch?=cjOgGsC0G9u
4
 The time reflects the time stamp in the video and not the time of day. This is true for all descriptions of this
particular video throughout this affidavit.

                                                                                                                    4
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                                                                                         VILLARREAL’s
                                                                                           hand moving
                                                                                         backwards to gain
                                                                                        momentum to throw
                                                                                          stick at officers

                                                                                          VILLARREAL




                                                Image 5




    Stick thrown by
    VILLARREAL
                                                                                         VILLARREAL’s
  striking USCP Sgt.
                                                                                          hand releasing
          A.G.
                                                                                              stick.




                                                                                     VILLARREAL




                                                Image 6

At approximately 4:55, VILLARREAL can be heard yelling “Use the shield! Make a wall!”
possibly in reference to the group attempting to form a barricade against the officers with riot
shields that had been stolen from several police officers.

At 8:24, while still at the front of the crowd, VILLARREAL is handed what appears to be a stolen
police shield by someone behind him (Image 7).


                                                                                               5
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                                          Image 7

VILLARREAL can then be seen holding the shield and actively assaulting the police officers by
pushing against them. At 8:45, a police officer can be seen trying to strike VILLARREAL with a
baton in self-defense (Image 8).




        Officer
     attempting to
         strike
    VILLARREAL
      with baton.                                                             VILLARREAL
                                                                              pushing against
                                                                                  police




                                          Image 8

At approximately 10:45, VILLARREAL can be seen making his way to the opposite side of the
doorway (left side). At that time, Washington D.C. Metropolitan Police Department (MPD) Sgt.
W.B. was in the same tunnel facing the crowd which included VILLARREAL. VILLARREAL
can be seen on Sgt. W.B.’s body camera footage in the tunnel (Image 9 and Image 10). In both
images, VILLARREAL can be seen holding what appears to be a stolen police riot shield which
he grabbed in Image 7.

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                                          Image 9




                                         Image 10

       Based on information provided by Witness 1, Witness 2, as well as information gathered
from law enforcement and open-source database checks, including examination of the California
Department of Motor Vehicles driver’s license photograph for VILLARREAL, your affiant
believes that the individual in images 2-10 is VILLARREAL.




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         Based on the foregoing, your affiant submits that there is probable cause to believe that
VILLARREAL violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; (4) knowingly engages in any act of
physical violence against any person or property in any restricted building or grounds; or attempts
or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that VILLARREAL violated
40 U.S.C. § 5104(e)(2)(D),(E), and (F) which makes it a crime to willfully and knowingly (D)
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb
the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct
in that building of a hearing before, or any deliberations of, a committee of Congress or either
House of Congress; (E) obstruct, or impede passage through or within, the Grounds or any of the
Capitol Buildings; (F) engage in an act of physical violence in the Grounds or any of the Capitol
Buildings.

        Based on the foregoing, your Affiant submits that there is probable cause to believe that
VILLARREAL violated 18 U.S.C. § 111(a)(1) and (b), which makes it a crime to forcibly assault
or interfere with any person designated in section 18 U.S.C. § 1114 as an officer or employee of
the United States while engaged in or on account of the performance of official duties. Persons
designated within section 1114 include any person assisting an officer or employee of the United
States in the performance of their official duties. Subsection (b) includes an enhancement for
violating this provision while using a deadly or dangerous weapon.

        Finally, your affiant submits there is probable cause to believe that VILLARREAL violated
18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

       Finally, your affiant submits there is probable cause to believe that VILLARREAL violated
18 U.S.C. § 641, which makes it a crime for a person to embezzle, steal, purloin, or knowingly
convert to his use or the use of another, or without authority, sell, convey or dispose of any record,


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